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                             UNITED STATES DISTRICT COURT
                         DISTRICT OF IDAHO (NORTHERN DIVISION)

CODY J. SCHUELER, an individual,

                        Plaintiff,            Case No. 2:22-cv-00389-DCN

      v.
                                              PLAINTIFF’S MOTION FOR
FOUR SQUAREBIZ, LLC, a Wyoming                DEFAULT JUDGMENT
limited liability company, KEITH O.
CREWS, an individual and the associated
marital community, MICAH EIGLER, an
individual and the associated marital
community, and JOHN AND JANE DOES
1-10,

                        Defendants.


      COMES NOW, Plaintiff CODY J. SCHUELER, by and through his attorneys of record,

Andrew M. Wagley and Samir Dizdarevic-Miller of Etter, McMahon, Lamberson, Van Wert

& Oreskovich, P.C., and hereby respectfully submits this Motion for Default Judgment

against Defendants Four SquareBiz, LLC (“Four SquareBiz”) and Keith O. Crews,

individually and the associated marital community comprised thereof (“Defendant Crews”).




   Plaintiff’s Motion for Default               ETTER, MCMAHON, LAMBERSON,
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                                                       618 WEST RIVERSIDE AVENUE, SUITE 210
                                                   SPOKANE, WASHINGTON 99201 (509) 747-9100
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This Motion is made pursuant to Fed. R. Civ. P. 55(b) and is supported by the accompanying

Memorandum of Law, including the points and authorities therein.

     As indicated fully in the accompanying Memorandum of Law, Default Judgment is

warranted against Defendants Four SquareBiz and Crews based upon the analysis articulated

in Eitel v. McCool, 782 F.2d 1470 (9th Cir. 1986), and its progeny. Plaintiff does not seek

Default Judgment against Defendant Micah Eigler (“Defendant Eigler”) based upon

Defendant Eigler’s Chapter 7 Bankruptcy. Despite this litigation pending for 11 months,

Defendants have failed to formally appear, obtain counsel, or demonstrate a meaningful

attempt to defend this lawsuit. As such, Default Judgment in the amount of $1,199,809.31,

comprised of $938,967.55 in principal and $260,841.76 in reasonable interest, is appropriate

against the remaining Defendants (Four SquareBiz and Crews).

     Based upon the foregoing, Plaintiff is entitled to a Default Judgment in the sum of

$1,199,809.31 against the remaining Defendants.

     RESPECTFULLY SUBMITTED this 11th day of August, 2023.

                                          ETTER, McMAHON, LAMBERSON,
                                            VAN WERT & ORESKOVICH, P.C.


                                          By: /s/ Andrew M. Wagley
                                             Andrew M. Wagley, ISB #10277
                                             Samir Dizdarevic-Miller, ISB #11471
                                             Attorneys for Plaintiff Cody J. Schueler




  Plaintiff’s Motion for Default                  ETTER, MCMAHON, LAMBERSON,
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                                                     SPOKANE, WASHINGTON 99201 (509) 747-9100
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                                   CERTIFICATE OF SERVICE

     The undersigned certifies, under penalty of perjury of the laws of the United States, that

on the date given below, I caused to be served in the manner noted copies of the foregoing

document upon the following parties:

    Keith Crews                                       U.S. Mail
    1503 Scenic Overlook Court                        Facsimile
    Kennesaw, GA 30152                                E-Mail
                                                      Via Hand Delivery

    Four SquareBiz, LLC                               U.S. Mail
    C/o Registered Agents Inc.                        Facsimile
    30 North Gould Street, Suite R                    E-Mail
    Sheridan, WY 82801                                Via Hand Delivery


     EXECUTED this 11th day of August, 2023 in Spokane, Washington.


                                      By: /s/ Jodi Dineen
                                         Jodi Dineen




  Plaintiff’s Motion for Default                     ETTER, MCMAHON, LAMBERSON,
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